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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 1:22 -cv- 00267- NYW

DANIEL HERRICK,

       Plaintiff,

v.

THE VAIL CORPORATION,

       Defendant.


                          NOTICE OF ENTRY OF APPEARANCE


       Jessica P. Marsh, of the law firm of Williams Weese Pepple & Ferguson PC, hereby enters

her appearance on behalf of Defendant The Vail Corporation and certifies that she is a member in

good standing of the bar of the United States District Court for the District of Colorado.

       Respectfully submitted this 7th day of April 2022.

                                              WILLIAMS WEESE PEPPLE & FERGUSON PC

                                              /s/ Jessica P. Marsh
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                                              Attorneys for Defendant The Vail Corporation
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 7th day of April 2022, a true and correct copy of the foregoing
was filed with the Clerk of the Court using the CM/ECF system and served upon the following via
the methods listed below:

       Via U.S. Mail and Electronic Mail (courtesy copy):
       Daniel L. Herrick
       111 West Beaver Creek Boulevard, #399
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                                                      /s/ Mikayla Munyon
                                                      WILLIAMS WEESE PEPPLE & FERGUSON PC
